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              10
              11
                                          UNITED STATES DISTRICT COURT
              12
                                        CENTRAL DISTRICT OF CALIFORNIA
              13
              14
                       Skot Heckman, Luis Ponce, Jeanene         Case No. 2:22-cv-00047-GW-GJS
              15       Popp, and Jacob Roberts, on behalf of
                       themselves and all those similarly
              16       situated,                                 DECLARATION OF KIMBERLY
                                                                 TOBIAS IN SUPPORT OF
              17                         Plaintiffs,             DEFENDANTS’ MOTION TO
              18                                                 COMPEL ARBITRATION
                       v.
              19                                                 The Honorable George H. Wu
                       Live Nation Entertainment, Inc., and
              20       Ticketmaster LLC,
              21                         Defendants.             Hearing Date: May 26, 2022
              22                                                 Hearing Time: 8:30 a.m.
              23                                                 Courtroom: 9D, 9th Floor
              24
              25
              26
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              28
                                                                        DECLARATION OF KIMBERLY TOBIAS
ATTORNEYS AT LAW
 SAN FRANCISCO
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                   1 I, KIMBERLY TOBIAS, declare as follows:
                   2         1.    I am the Senior Vice President of Litigation for Live Nation
                   3 Entertainment, Inc. (“Live Nation”), a Defendant in the above-entitled action, and
                   4 the parent corporation of Defendant Ticketmaster L.L.C. (“Ticketmaster”). I make
                   5 this Declaration in support of Defendants’ Motion to Compel Arbitration. The facts
                   6 set forth herein are based on my personal knowledge and my review of Ticketmaster
                   7 and Live Nation’s records; if called upon to do so, I can and will competently testify
                   8 to these facts.
                   9         2.    I have worked for Live Nation and Ticketmaster for the past sixteen
              10 years. Since 2021, I have held the position of Senior Vice President of Litigation.
              11 Previously (from 2014 to 2021), I held the position of Vice President, Legal Affairs.
              12 My responsibilities in both positions have included, among other things, overseeing
              13 the Terms of Use that apply to Ticketmaster and Live Nation’s websites. I am
              14 familiar with and knowledgeable about those websites and the applicable Terms of
              15 Use.
              16             3.    Ticketmaster and Live Nation operate a number of ticketing websites,
              17 including www.ticketmaster.com and www.livenation.com, where users can
              18 purchase tickets to events. Those websites allow users to purchase primary tickets
              19 to events, in the first instance, and/or resale tickets (which are often referred to as
              20 “secondary” tickets).
              21             4.    As explained below, Ticketmaster and Live Nation’s Terms of Use
              22 include a mandatory arbitration clause. The full text of the Terms of Use is available
              23 on Ticketmaster and Live Nation’s websites, and those websites (both the desktop
              24 and mobile versions) include notices of the Terms of Use at several distinct points
              25 in the user flow—including at account creation, sign-in, and purchase.
              26
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                                                                            DECLARATION OF KIMBERLY TOBIAS
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                   1
                                                 TICKETMASTER SITE
                   2
                                             Ticketmaster Account Creation Page
                   3
                   4        5.     In order to purchase a ticket on www.ticketmaster.com (either the
                   5 desktop or mobile version), users are required to create an account; users can then
                   6 sign in to that account and use it to purchase tickets. To create an account, a user
                   7 must provide personal information, create a password, and click a “Next” button.
                   8 Immediately above that “Next” button is the following language: “By continuing
                   9 past this page, you agree to the Terms of Use and understand that information will
              10 be used as described in our Privacy Policy.” The phrase “Terms of Use” is in bold,
              11 color-contrasting text, and hyperlinks to the full text of the Terms of Use. Attached
              12 as Exhibit 1 is a true and correct screenshot of the current account creation page on
              13 Ticketmaster’s desktop site, and attached as Exhibit 2 is a true and correct
              14 screenshot of the current account creation page on Ticketmaster’s mobile site (which
              15 provides the same notice as on the desktop site).
              16            6.     While the look and feel of www.ticketmaster.com has changed slightly
              17 over time, the account creation page has included notice of the Terms of Use since
              18 at least 2003 (for the desktop version) and 2010 (for the mobile version).
              19                                  Ticketmaster Sign-In Page
              20            7.     Before purchasing a ticket on www.ticketmaster.com (either the
              21 desktop or mobile version), a user is required to sign in to his or her account. When
              22 clicking the “Sign In” button, the user is notified that: “By continuing past this page,
              23 you agree to the Terms of Use and understand that information will be used as
              24 described in our Privacy Policy.” The phrase “Terms of Use” is in bold, color-
              25 contrasting text, and hyperlinks to the full text of the Terms of Use. Attached as
              26 Exhibit 3 and excerpted below is a true and correct screenshot of the current sign-
              27 in page on Ticketmaster’s desktop site, and attached as Exhibit 4 is a true and correct
              28 screenshot of the same sign-in page on Ticketmaster’s mobile site. Users who signed
                                                                           DECLARATION OF KIMBERLY TOBIAS
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                   1        11.    To be clear, users who purchased tickets from Ticketmaster’s desktop
                   2 and mobile sites from August 2020 through July 2021 would have seen the checkbox
                   3 notices in Exhibits 7 and 9; since August 2021 (and through the date of this
                   4 declaration), users who purchase tickets from Ticketmaster’s desktop and mobile
                   5 sites are presented with either (a) the checkbox notices shown in notices in Exhibits
                   6 7 and 9, or (b) checkbox notices that also include a COVID disclosure, as shown in
                   7 Exhibits 8 and 10, for example.
                   8        12.    While the look and feel of www.ticketmaster.com has changed slightly
                   9 over time, the payment page has included a notice of the Terms of Use since at least
              10 2006 (for the desktop version) and 2010 (for the mobile version). The checkbox
              11 shown in Exhibits 7 – 10 was added to the payment page on both the mobile and
              12 desktop versions in August 2020. Since that time, users have been required to check
              13 the box affirming that they have read and agree to the current Terms of Use in order
              14 to purchase tickets; if a user chooses to not check the box affirming agreement to the
              15 Terms, that user cannot complete his or her purchase.
              16            13.    For comparison, attached as Exhibits 11 and 12 are true and correct
              17 screenshots of the payment pages on Ticketmaster’s desktop and mobile sites,
              18 respectively, from June 2020 (i.e., before the checkbox was added); these
              19 screenshots were also submitted in connection with Oberstein v. Live Nation
              20 Entertainment, Inc., No. CV 20-3888, 2021 WL 4772885 (C.D. Cal. Sept. 20, 2021)
              21 (Wu, J.), to show the notice of the Terms of Use that the Oberstein plaintiffs would
              22 have seen on the purchase page.
              23                                  Other Ticketmaster Pages
              24            14.    Finally, in order to browse for (and ultimately select) tickets for
              25 purchase on Ticketmaster’s desktop and mobile sites, a user must navigate through
              26 various pages on Ticketmaster’s website. Many of those pages clearly inform the
              27 user that his or her use of the site is subject to the Terms of Use. For example, the
              28 current homepage on both the desktop and mobile sites contains a link across the
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                   1 bottom of the page that reads: “By continuing past this page, you agree to our Terms
                   2 of Use.” The phrase “Terms of Use” is in bold and hyperlinks to the full text of the
                   3 Terms of Use. Attached as Exhibit 13 is a true and correct screenshot of the current
                   4 Ticketmaster desktop site homepage, showing this notice, and attached as Exhibit
                   5 14 is a true and correct screenshot of the current Ticketmaster mobile site homepage,
                   6 showing this notice.
                   7        15.    While the look and feel of Ticketmaster’s desktop and mobile sites have
                   8 changed slightly over time, various pages have informed users browsing the sites of
                   9 the Terms of Use since at least 2010.
              10                                   LIVE NATION SITE
              11                             Live Nation Account Creation Page
              12            16.    In order to purchase a ticket on www.livenation.com (either the desktop
              13 or mobile version), users are required to create an account; users can then sign in to
              14 that account and use it to purchase tickets. To create an account, a user must provide
              15 personal information, create a password, and click a “Next” button. Immediately
              16 above that “Next” button is the following language: “By continuing past this page,
              17 you agree to the Terms of Use and understand that information will be used as
              18 described in our Privacy Policy.” The phrase “Terms of Use” is in bold, color-
              19 contrasting text, and hyperlinks to the full text of the Terms of Use. Attached as
              20 Exhibit 15 is a true and correct screenshot of the current account creation page on
              21 Live Nation’s desktop site, and attached as Exhibit 16 is a true and correct
              22 screenshot of the current account creation page on Live Nation’s mobile site (which
              23 provides the same notice as on the desktop site).
              24            17.    While the look and feel of www.livenation.com has changed slightly
              25 over time, the account creation page (on both the desktop and mobile versions) has
              26 included notice of the Terms of Use since at least 2010.
              27
              28
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                   1         19.   While the look and feel of www.livenation.com has changed slightly
                   2 over time, the sign-in page has included a substantially similar notice of the Terms
                   3 of Use since at least 2010 (for the desktop version) and 2012 (for the mobile version).
                   4         20.   For comparison, attached as Exhibits 19 and 20 are true and correct
                   5 screenshots of the sign-in pages on Live Nation’s desktop and mobile sites,
                   6 respectively, from June 2020; these screenshots were also submitted in connection
                   7 with Oberstein v. Live Nation Entertainment, Inc., No. CV 20-3888, 2021 WL
                   8 4772885 (C.D. Cal. Sept. 20, 2021) (Wu, J.), to show the notice of the Terms of Use
                   9 that the Oberstein plaintiffs would have seen at sign-in. Exhibits 19 and 20 show
              10 the same notice as in Exhibits 17 and 18.
              11                                  Live Nation Purchase Page
              12             21.   After a user has signed in to his or her account, the user is ready to
              13 purchase tickets. At that point, the user must fill out payment and billing information
              14 and click the “Place Order” button. Immediately above the “Place Order” button is
              15 a checkbox and notice of the Terms of Use. Depending on whether the particular
              16 event had protocols related to COVID-19 in place, Plaintiffs would have seen either:
              17 (a) “I have read and agree to the current Terms of Use,” as shown in the excerpt
              18 below, or (b) “I have read and agree to the current Terms of Use,” plus that
              19 event’s COVID disclosure, as shown in the second excerpt below, for example.
              20 (Prior to August 2021, all users would have seen the former version. The latter
              21 variation started to be used in August 2021, with the emergence of the Delta variant.
              22 As a result, since August 2021, the purchase page notice contained a special COVID-
              23 related disclosure if the event had special COVID-19 protocols in place at the time
              24 of purchase; if not, users would have seen the former version instead.) Either way,
              25 the notice required the user to check a box affirming that “I have read and agree to
              26 the current Terms of Use,” in order to make the purchase. The notice appeared in
              27 bold font, with the words “Terms of Use” in color-contrasting text (hyperlinked to
              28 the full text of the current Terms of Use), immediately above the “Place Order”
                                                                             DECLARATION OF KIMBERLY TOBIAS
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                   1 if a user chooses to not check the box affirming agreement to the Terms, that user
                   2 cannot complete his or her purchase.
                   3        24.    For comparison, attached as Exhibits 25 and 26 are true and correct
                   4 screenshots of the payment pages on Live Nation’s desktop and mobile sites,
                   5 respectively, from June 2020 (i.e., before the checkbox was added); these
                   6 screenshots were also submitted in connection with Oberstein v. Live Nation
                   7 Entertainment, Inc., No. CV 20-3888, 2021 WL 4772885 (C.D. Cal. Sept. 20, 2021)
                   8 (Wu, J.), to show the notice of the Terms of Use that the Oberstein plaintiffs would
                   9 have seen on the purchase page.
              10                                   Other Live Nation Pages
              11            25.    Finally, in order to browse for (and ultimately select) tickets for
              12 purchase on Live Nation’s desktop and mobile sites, a user must navigate through
              13 various pages on Live Nation’s website. Many of those pages clearly inform the
              14 user that his or her use of the site is subject to the Terms of Use. For example, the
              15 current homepage on both the desktop and mobile sites contains a link across the
              16 bottom of the page that reads: “By continuing past this page, you agree to our Terms
              17 of Use.” The phrase “Terms of Use” is in bold and hyperlinks to the full text of the
              18 Terms of Use. Attached as Exhibit 27 is a true and correct screenshot of the current
              19 Live Nation desktop site homepage, showing this notice, and attached as Exhibit 28
              20 is a true and correct screenshot of the current Live Nation mobile site homepage,
              21 showing this notice.
              22            26.    While the look and feel of Live Nation’s desktop and mobile sites have
              23 changed slightly over time, various pages have informed users browsing the sites of
              24 the Terms of Use since at least 2010.
              25                        CONTENTS OF THE TERMS OF USE
              26            27.    The Terms of Use, which govern the use of Ticketmaster and Live
              27 Nation’s websites, include an arbitration agreement; this has been true since June 14,
              28 2011. Attached as Exhibit 29 is a true and correct copy of the current Terms of Use
                                                                           DECLARATION OF KIMBERLY TOBIAS
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                   1 from Ticketmaster’s website; these have been effective since July 2, 2021. Attached
                   2 as Exhibit 30 is a true and correct copy of the current Terms of Use from Live
                   3 Nation’s website; these have been effective since July 2, 2021, and are identical to
                   4 the Terms of Use on Ticketmaster’s website. The same Terms of Use govern the
                   5 desktop and mobile versions of Ticketmaster and Live Nation’s websites.
                   6        28.    The Terms of Use have been updated from time to time; however, they
                   7 have contained an arbitration clause since June 14, 2011.
                   8        29.    Attached as Exhibits 31, 32, 33, 34, and 35 are true and correct copies
                   9 of five prior versions of the Terms of Use from Ticketmaster’s website—
              10 specifically, the January 1, 2021 Terms of Use; September 17, 2020 Terms of Use;
              11 August 5, 2020 Terms of Use; June 25, 2019 Terms of Use; and December 7, 2018
              12 Terms of Use. Some of these versions were pulled using the Wayback Machine,
              13 including in connection with prior cases; I have reviewed them and can attest that
              14 they are in fact true and correct copies of the Terms of Use that applied as of the date
              15 specified.
              16            30.    Attached as Exhibits 36, 37, 38, 39, and 40 are true and correct copies
              17 of five prior versions of the Terms of Use from Live Nation’s website—specifically,
              18 the January 1, 2021 Terms of Use; September 17, 2020 Terms of Use; August 5,
              19 2020 Terms of Use; June 25, 2019 Terms of Use; and December 7, 2018 Terms of
              20 Use. Some of these versions were pulled using the Wayback Machine, including in
              21 connection with prior cases; I have reviewed them and can attest that they are in fact
              22 true and correct copies of the Terms of Use that applied as of the date specified.
              23
              24            I declare under penalty of perjury that the foregoing is true and correct.
              25 Executed on March 8, 2022.
              26
              27                                                             Kimberly Tobias
              28
                                                                           DECLARATION OF KIMBERLY TOBIAS
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